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                EXHIBIT 4
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                                                                           1                                  STATE OF CALIFORNIA
                                                                                                BUSINESS, CONSUMER SERVICES AND HOUSING AGENCY
                                                                           2                  DEPARTMENT OF FINANCIAL PROTECTION AND INNOVATION
                                                                           3
                                                                           4   TO:    Nexo Group
                                                                                      Nexo Inc.
                                                                           5          Nexo Capital Inc.
                                                                                      251 Little Falls Drive
State of California - Department of Financial Protection and Innovation




                                                                           6          Wilmington, Delaware 19808
                                                                           7
                                                                           8                                        DESIST AND REFRAIN ORDER
                                                                           9                     (For violations of California Corporations Code section 25110)
                                                                          10          The Commissioner of Financial Protection and Innovation (Commissioner), based on
                                                                          11   information and belief, finds that:
                                                                          12          1.       The Nexo Group (Nexo) was founded in 2018. It comprises business entities
                                                                          13   organized primarily in European countries and territories, including but not limited to Nexo Inc. and
                                                                          14   Nexo Capital Inc.
                                                                          15          2.       Nexo Inc. is a Cayman Islands corporation formed in 2018. Nexo Inc. is the parent
                                                                          16   company of all Nexo companies, including Nexo Capital Inc., and it is the central entity through
                                                                          17   which these other companies are generally managed.
                                                                          18          3.       Nexo Capital Inc. is a Cayman Islands corporation formed in 2018.
                                                                          19          4.       Nexo operates a crypto platform that offers crypto interest accounts, self-directed and
                                                                          20   over-the-counter trade execution, and lending, borrowing, and exchange services, among others, to
                                                                          21   retail and institutional customers. Nexo provides these products and services primarily through Nexo
                                                                          22   Capital Inc.
                                                                          23          5.       Since 2018, Nexo Capital Inc., on behalf of Nexo, has conducted business in the
                                                                          24   United States through Nexo’s mobile application and public website at http://www.nexo.io/. Nexo
                                                                          25   Capital Inc. owns both the mobile application and website.
                                                                          26          6.       Since at least June 2020, Nexo Capital Inc., on behalf of Nexo, has offered and sold
                                                                          27   unqualified securities, in the form of Earn Interest Product accounts, to the United States public at
                                                                          28   large and to California residents.



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                                                                           1             7.       The Earn Interest Product is Nexo’s crypto interest account program.
                                                                           2             8.       Earn Interest Product accounts are offered exclusively by Nexo Capital Inc. through
                                                                           3   Nexo’s smartphone application and public website; prospective investors can open accounts on
                                                                           4   either.
                                                                           5             9.       Under the Earn Interest Product program, investors deposit certain crypto assets into
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                                                                           6   their accounts and maintain a minimum amount of those assets there.
                                                                           7             10.      Investors also authorize Nexo, at its sole and absolute discretion, to do the following:
                                                                           8                   a. Aggregate investors’ deposits of crypto assets.
                                                                           9                   b. Combine these deposited crypto assets with similar assets associated with other Nexo
                                                                          10                      products or otherwise held by Nexo.
                                                                          11                   c. Convert, pledge, repledge, hypothecate, rehypothecate, sell, lend, or otherwise
                                                                          12                      transfer, dispose of, or use any amount of crypto assets from that pool of deposits for
                                                                          13                      any period of time.
                                                                          14             11.      Nexo’s uses of the deposited crypto assets are performed in Nexo’s name, with
                                                                          15   attendant rights of ownership.
                                                                          16             12.      Nexo has no obligation to retain a like amount of these crypto assets or comparable
                                                                          17   ones in its possession or control to fully cover investors’ deposits.
                                                                          18             13.      Investors assume all risk related to their Earn Interest Product accounts.
                                                                          19             14.      In return, investors earn daily interest on their deposited crypto assets in the form of
                                                                          20   cryptocurrencies, stablecoins, or tokens. Investors begin to accrue interest twenty-four hours after
                                                                          21   making their deposits.
                                                                          22             15.      Investors elect to earn either compound interest in kind or simple interest in Nexo’s
                                                                          23   native tokens, NEXO tokens. Nexo automatically pays interest to the savings wallets for investors’
                                                                          24   accounts.
                                                                          25             16.      On its platform, Nexo publishes a list of crypto assets that it transacts in for the Earn
                                                                          26   Interest Product program. That list states, among other information, each of these assets’ annual
                                                                          27   interest rate and the minimum amount of each asset that an investor must maintain in their account to
                                                                          28   receive interest payments from Nexo.



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                                                                           1          17.      Nexo offers Earn Interest Product accounts under either a flex or fixed term.
                                                                           2          18.      An investor with a flex-term account can withdraw their deposited crypto assets at any
                                                                           3   time in accordance with Nexo’s terms and conditions.
                                                                           4          19.      Under a fixed-term account, an investor generally cannot withdraw their deposited
                                                                           5   crypto assets until the expiration of the agreed-upon term. At a minimum, an investor can choose
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                                                                           6   one, three, or twelve months for their fixed term, depending at least in part on which crypto assets
                                                                           7   were deposited.
                                                                           8          20.      Interest payments are made daily for flex-term accounts and at the end of the relevant
                                                                           9   term for fixed-term accounts.
                                                                          10          21.      For a fixed-term account, an investor can opt into Nexo’s automatic renewal feature to
                                                                          11   automatically maintain their current crypto assets in their account for another identical fixed term at
                                                                          12   the end of their original term.
                                                                          13          22.      Nexo’s terms and conditions for the Earn Interest Product apply to automatically
                                                                          14   renewed fixed-term accounts, too.
                                                                          15          23.      If an investor with an Earn Interest Product fixed-term account does not elect to
                                                                          16   automatically renew their fixed term, their account automatically turns into a flex-term one at the end
                                                                          17   of their fixed term.
                                                                          18          24.      The annual interest rates for deposited crypto assets in Earn Interest Product accounts
                                                                          19   have been upward of at least 36%, depending on which crypto assets were deposited, whether the
                                                                          20   account operates under a flex or fixed term, and the loyalty tier of the investor’s account, among
                                                                          21   other things.
                                                                          22          25.      Nexo has promoted its services and products, including Earn Interest Product
                                                                          23   accounts, in the United States through its smartphone application, website, blog, and ads on Facebook
                                                                          24   and Google, among other media networks.
                                                                          25          26.      Nexo finances its interest payments to Earn Interest Product investors through revenue
                                                                          26   from its business activities, including lending, borrowing, trading, and exchange services, among
                                                                          27   others, to retail and institutional customers. Investors neither provide nor facilitate these activities or
                                                                          28   services.



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                                                                           1          27.     Whether Earn Interest Product investors receive interest payments depends entirely on
                                                                           2   the success of Nexo as a business and its managerial and entrepreneurial efforts. These investors do
                                                                           3   not engage in any substantive program activities beyond depositing crypto assets.
                                                                           4          28.     Nexo’s interest payments to Earn Interest Product investors function like those for
                                                                           5   pooled investment vehicles. But it appears that Nexo, Nexo Inc., and Nexo Capital Inc. are not
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                                                                           6   protected by investor- and consumer-protection organizations, such as the Securities Investor
                                                                           7   Protection Corporation and the Federal Deposit Insurance Corporation.
                                                                           8          29.     Nexo has represented that since February 19, 2022, it has ceased offering and selling
                                                                           9   Earn Interest Product accounts to U.S. residents. Nexo has further claimed that since then, it has
                                                                          10   disallowed additional deposits into existing Earn Interest Product accounts held by U.S. investors.
                                                                          11   However, Nexo allows an investor with an Earn Interest Product fixed-term account to enroll in
                                                                          12   Nexo’s automatic renewal feature. Nexo’s offer of that option to an investor, along with the
                                                                          13   investor’s decision to enroll, constitutes an offer and sale of a security.
                                                                          14          30.     More than one California resident opened their Earn Interest Product fixed-term
                                                                          15   account before February 19, 2022 and opted into Nexo’s automatic renewal feature. For those
                                                                          16   California investors whose fixed terms then expired on or after February 19, 2022, their accounts
                                                                          17   were automatically renewed for another identical term at the end of their respective original term.
                                                                          18          31.     Nexo pooled the crypto assets in these California investors’ renewed Earn Interest
                                                                          19   Product fixed-term accounts with similar assets from other Earn Interest Product accounts, associated
                                                                          20   with other Nexo products, or otherwise held by Nexo. Nexo then lent out this pool of crypto assets to
                                                                          21   borrowers, among other uses.
                                                                          22          32.     In return, these California investors with Earn Interest Product fixed-term accounts,
                                                                          23   whose fixed terms had expired on or after February 19, 2022 and whose accounts were automatically
                                                                          24   renewed for another fixed term, earned further interest beginning on or after February 19, 2022 for
                                                                          25   their deposited assets.
                                                                          26          33.     Therefore, Nexo did not cease offering and selling Earn Interest Product accounts to
                                                                          27   California residents on February 19, 2022. To this day, Nexo continues to offer and sell these
                                                                          28   securities to California residents.



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                                                                           1          34.      As of July 31, 2022, over 18,000 California residents have active Earn Interest Product
                                                                           2   flex- or fixed-term accounts; these accounts collectively hold investments totaling at least
                                                                           3   $174,800,000.
                                                                           4          35.      The Commissioner has issued no permit or other form of qualification authorizing
                                                                           5   Nexo, Nexo Inc., or Nexo Capital Inc. to offer or sell securities, including Earn Interest Product
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                                                                           6   accounts, in California. Nor are the offers and sales of these securities excepted, exempt, or
                                                                           7   otherwise not subject to qualification.
                                                                           8          Based on the foregoing findings, the Commissioner is of the opinion that the Earn Interest
                                                                           9   Product accounts offered and sold by the Nexo Group, Nexo Inc., and Nexo Capital Inc. (1) are
                                                                          10   securities, in the form of investment contracts, under California Corporations Code section 25019; (2)
                                                                          11   are being offered and sold in this state in issuer transactions; (3) are subject to qualification under the
                                                                          12   Corporate Securities Law of 1968; and (4) have been offered and sold without prior qualification, in
                                                                          13   violation of California Corporations Code section 25110.
                                                                          14          Pursuant to California Corporations Code section 25532, the Nexo Group, Nexo Inc., Nexo
                                                                          15   Capital Inc., and their affiliates are HEREBY ORDERED to desist and refrain from the further offer
                                                                          16   and sale of securities in California, including but not limited to Earn Interest Product accounts, unless
                                                                          17   such sale has been qualified under the law, or unless such securities or transactions are excepted,
                                                                          18   exempt, or otherwise not subject to qualification.
                                                                          19          This Order is necessary, in the public interest, to protect investors and is consistent with the
                                                                          20   purposes, policies, and provisions of the Corporate Securities Law of 1968.
                                                                          21
                                                                          22   Dated: September 26, 2022                      CLOTHILDE V. HEWLITT
                                                                                      Los Angeles, California                 Commissioner of Financial Protection and Innovation
                                                                          23
                                                                          24
                                                                                                                                 By
                                                                          25                                                              MARY ANN SMITH
                                                                                                                                          Deputy Commissioner
                                                                          26                                                              Enforcement Division
                                                                          27
                                                                          28



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                                                                                                                  DESIST AND REFRAIN ORDER
